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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 AUTONOMOUS DEVICES, LLC,

                              Plaintiff,

                v.                                        C.A. No. 22-1466 (MN)

 TESLA, INC.,

                              Defendant.


                               NOTICE OF WITHDRAWAL

       Pursuant to D. Del. LR 83.7, the appearance of Anish Desai, Christopher M. Pepe,

Matthew D. Sieger, Ian A. Moore, Adrian C. Percer, Eric Westerhold, and Allison Herzig of the

law firm of Weil, Gotshal & Manages LLP, as counsel on behalf of Defendant Tesla, Inc. is

hereby withdrawn.

       Defendant will be represented by the law firm of Fish & Richardson P.C.

       Please also remove all electronic notices for Anish Desai, Christopher M. Pepe, Matthew

D. Sieger, Ian A. Moore, Adrian C. Percer, Eric Westerhold, and Allison Herzig.


                                               FISH & RICHARDSON P.C.

                                               By: /s/ Susan E. Morrison
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Dated: October 5, 2023
